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 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     TODD ALLEN SMITH
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-10-191 JAM
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION TO CONTINUE STATUS
10                                       )                CONFERENCE AND EXCLUDE TIME
           v.                            )                UNDER SPEEDY TRIAL ACT
11                                       )
     TODD ALLEN SMITH,         et al.,   )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendants, Jeremiah Martin,
15   Darrin Johnston, Todd Smith, and Cheryl Peterson, by and through their undersigned defense
16   counsel, and the United States of America by and through its counsel, Assistant U.S. Attorney
17   Matthew Stegman, that the status conference presently set for April 26, 2011 at 9:30 a.m., should
18   be continued to June 28, 2011 at 9:30 a.m., and that time under the Speedy Trial Act should be
19   excluded from April 26, 2011 through June 28, 2011.
20          The reason for the continuance is that the defendants are continuing their investigation and
21   preparation of the matter for trial. There is substantial discovery and the issues are complicated.
22   Accordingly, the time between April 26, 2011 and June 28, 2011 should be excluded from the
23   Speedy Trial calculation pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv) and
24   Local Code T-4 for defense preparation.     The parties stipulate that the ends of justice served by
25   granting this continuance outweigh the best interests of the public and the defendants in a speedy
26   trial. 18 U.S.C. §3161(h)(7)(A). Mr. Stegman and the undersigned defense counsel have authorized
27   Mr. Locke to sign this pleading for them.
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29                                                    1
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 2
 3   DATED: April 21, 2011                    /S/ Bruce Locke
                                        BRUCE LOCKE
 4                                      Attorney for Todd Smith
 5
     DATED: April 21, 2011                    /S/ Bruce Locke
 6                                      For PATRICK HANLEY
                                        Attorney for Darrin Johnston
 7
 8   DATED: April 21, 2011                    /S/ Bruce Locke
                                        For COURTNEY LINN
 9                                      Attorney for Jeremiah Martin
10
11   DATED: April 21, 2011                    /S/ Bruce Locke
                                        For DOUGLAS BEEVERS
12                                      Attorney for Cheryl Peterson
13
     DATED: April 21, 2011                 /S/ Bruce Locke
14                                      For MATT STEGMAN
                                        Attorney for the United States
15
16
           IT IS SO ORDERED.
17
18
19   DATED: 4/21/2011                   /s/ John A. Mendez
                                        UNITED STATES DISTRICT JUDGE
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